
970 So.2d 438 (2007)
Stevie T. STEVERSON, Appellant,
v.
STATE of Florida, Appellee.
No. 5D07-437.
District Court of Appeal of Florida, Fifth District.
December 4, 2007.
James S. Purdy, Public Defender, and Marvin F. Clegg, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Kristen L. Davenport, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Grice v. State, 967 So.2d 957 (Fla. 1st DCA 2007).
